Exhibit 1

TEXT MESSAGES

Exhibit 1

Case 2:20-cv-00818-JAD-NJK Document 16-2 Filed 06/03/20 Page 2 of 10
Lia 4 il 40% @ 14:12

Nicole Greene
+1 805-345-6064

goa, '™Nere, cnecking in wy

& Okay, I’m gonna start heading
down to the lobby 00:46

jo-ag Down... Where are you? ©&

& Still in the parking garage...

K. I'm heading to room 1736.
I'm gonna change. Meet me
go-49 there instead

& Okay, I'm on my way up n0:3

Did you have fun last night? ©
Super cool seeing you

| wish Id had time to walk you
11:07 to your Car...

& Aww, you're so sweet. Yeah,
| always have a great time
hanging out

with you. | wish we could
take things further, but I'll
see what |

OC Ww
Case 2:20-cv-00818-JAD-NJK Document 16-2 Filed 06/03/20 Page 3 of 10

ka MG? il 39% @ 14:12
Nicole Greene QO
+1 805-345-6064 SS 3
Se€e Wiilal |

can do about it & 191

Piday, PORRURey dec bie or ener a

Hey, how’s it going?

13:16

2
1347 600d, you? ©

Pretty good. Just getting
ready for work 13°99

& Do you even want to be
friends with me? Or are you
just using me until a better
girl comes along? 14:07

I'm at work right now, but
where did that come from?

?
14-16 Do you feel used’

& Alright, well I'm not going
to bother you at work. But

yes, | do 14:27

Ok, then | sincerely apologize @

ines ee ele a ee i el Lk

Q | ©
Case _2:20-cv-00818-JAD-NJK Document 16-2 Filed 06/03/20 Page 4 of 10

wall 39% 14:12

Nicole Greene a
+1 805-345-6064 MS
see WIlal |

eee

can do about it & 1121

Sa ae a Friday, February OHeN hese ee

& Hey, how's it going? nai

4347 Good, your &

ye

Pretty good. Just getting
ready for work 13:29

Do you even want to be

friends with me? Or are you

just using me until a better

girl comes along? 14:07

¢ &

I'm at work right now, but @
where did that come from?

9
14°16 Do you feel used?

& Alright, well I’m not going
to bother you at work. But

yes, | do 14:27

Ok, then | sincerely apologize ©

fn. line wn. £2) tL...

yy | ©
w/ | vy)
Case 2:20-cv-00818-JAD-NJK Document 16-2 Filed 06/03/20 Page 5 of 10
Lid MEE al 39% @ 14:13

Nicole Greene
+1 805-345-6064

Ok, then | sincerely apologize @&
for making you feel that way.
| think what you are looking
for is not the same as what |
4499. am looking for.

& What is it that you’re
looking for? 14°34

| am now interested in &
friendship. Or if you'd rather
;4-49 avoid mel understand

& No, | don’t want to avoid you. |
want friendship too 15:15

Thursday, February 8, 2018 — a te.

& Hey, sorry | got upset the
other day. | really hope you're

doing well. How's your sister
and her baby? 14:38

No worries. My sister is great &
44.49 and very happy being amom

That's good to hear. So | went
to an OBGYN this morning
thinking | would get some an-

Case 2:20-cv-00818-JAD-NJK Document 16-2 Filed 06/03/20 Page 6 of 10

&

A tl 39% 14:13

Nicole Greene
+1 805-345-6064 =
That's good to hear. So | went

to an OBGYN this morning

thinking | would get some an-

swers, but he said everything

seemed normal. So now I’m

really discouraged &» 14:46

iq, Normalisgood ©

Yeah, that’s true. But | was

hoping he could give me

answers as to why you and |

keep having problems 15:38

Putting it bluntly, my hymen
is already torn 15:40

If you want to try again,
maybe we can use alcohol 19:50

Nicole, | want to remain ©
20:30 just friends.

Benjamin, you've told

me multiple times that

you've slept with girls you
considered “just friends” 20:31

fais De eae Sunday, February tice a ee ee
Case 2:20-cv-00818-JAD-NJK Document 16-2 Filed 06/03/20 Page 7 of 10

[eal

if
#

ll 39% @ 14:13

Nicole Greene Q
+1 805-345-6064 Oo
CONSIGErea JUSL INeNUS 90:31

Sunday, February 11, 2018

Correct me if I’m wrong, but |
feel like you're upset because
| accused you of using me
and I'm really, really sorry
because | feel like | ruined
everything. | just want you to
understand things from my
perspective. You were my
first everything, so naturally,
| wanted more than just
friendship. And

C) VIEW ALL »

11:07

| think that's a pretty accurate

assessment. | was a bit put

off by the whole thing, but |
21-28 am neither angry nor upset.

After reflecting on it, | don't &
think the way things were

is good for you at this point

in your life, and maybe

not for me either. You are

an awesome chick, and |

respect you greatly. | think

it's probablv normal and
Case 2:20-cv-00818-JAD-NJK Document 16-2 Filed 06/03/20 Page 8 of 10

Leal WS ll 39% 14:13

Nicole Greene
+1 805-345-6064

Correct me if I’m wrong, but | feel like you're

upset because | accused you of using me and

I'm really, really sorry because | feel like | ruined
everything. | just want you to understand things
from my perspective. You were my first everything,
so naturally, | wanted more than just friendship.
And when you told me that night in Las Vegas that
you didn’t feel the same way, | was disappointed
and upset. But I’ve come to terms with how you
feel and | really want things to go back to normal
because | don’t like the way things are right now.

| totally understand that you don’t want to be ina
relationship and | respect that. | just can’t handle
you being upset with me and not responding to me
because you are so special to me.
Case 2:20-cv-00818-JAD-NJK Document 16-2 Filed 06/03/20 Page 9 of 10

lid

all 38% G 14:17

Nicole Greene Q
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uulllly yuul vavauuil: 22:04

Hanging out with the woman &
99-96 and some friends

Thursday, June 28, 2018

| didn't think I'd have to tell
you this, but | feel the need to
say it because | finally have
enough courage to stand

up for myself. The past few
months, my mental health
has been in a really bad
place. | have been suffering
from anxiety, depression, and
suicidal thoughts. I'm not
trying to assign

© VIEW ALL s

For the longest time, | felt

so guilty, because once you
realized we weren't going

to be able to have sex, you
started distancing yourself
from me and | felt like a
failure. Keep in mind, I'm 13
years younger than you and
this was my first time in any
sort of "relationship" like this.

Il baa |b mada

am
Case 2:20-cv-00818-JAD-NJK Document 16-2 Filed 06/03/20 Page 10 of 10
ME il 38% Gl 14:17

Nicole Greene
+1 805-345-6064

| didn't think I'd have to tell you this, but | feel

the need to say it because | finally have enough
courage to stand up for myself. The past few
months, my mental health has been in a really bad
place. | have been suffering from anxiety, depres-
sion, and suicidal thoughts. I'm not trying to assign
blame, but | know for a fact that this situation has
a lot to do with it. | felt ashamed that we weren't
able to have sex because | felt like that was all you
ever wanted and | was letting you down. | felt even
more ashamed for developing feelings for you. | did
everything | could to try to make this right, includ-
ing going to a gynecologist, going on birth control,
and encouraging you to get tested for STDs.
